Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 1 of 24




                     EXHIBIT F
        Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 2 of 24




                                  United States District Court
                                 Southern District of New York


Virginia L. Giuffre,

               Plaintiff:                     Case No.: 15-cv-07433-RWS

V.


Ghislaine Maxwell,

               Dc1endanL.

- - - - - - - - - - - - - -I
     NOTICE OF SERVICE OF RlTT~E 45 SUBPOENA TO PRODUCE DOCUMENTS,
     INFORMAT[ON, OR OBJECTS OR TO PERMIT INSPECTION OF PRE.MISES
                         UPO)l JEAN LUC BRUNEL

       PLEASE TAKE NOTICE THAT, pursuantto Rule 45 oftbc .Federal Rules of Civil

Procedure, Plaintiff, Virginia Giuffre, hereby provides Notice of Service of Subpoena to Produt:e

Documents, [nformation, or Objects or to Permit Tnspection of Premises upon Jean Luc Brunel.

A copy of the Subpoena is attacJ1ed to this Notice as Exhibit A.

Dared: February 16, 2016
                                         By: /s/ Si grid l\lkCawley
                                              Sigrid Mccawley (Admitted Pro Hae Vice)
                                              Boies Schiller & Flexner LLP
                                              401 E. Las Olas Blvd., Suite 1200
                                              Ft. Lauderdale, FT. 33301
                                              (954) 356-0011

                                              David Boil:s
                                              Boies Schiller & Flexner LLP
                                              333 Main Street
                                              Armonk, NY l 0504

                                              Ellen Brockman
                                              Boies Schiller & Flexner LLP
                                              575 Lexington Ave
                                              New York, New York 10022
                                              (212) 446-2 300
       Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 3 of 24




                                  CERTU'lCATE OF SERVICE

        I HEREBY CERTIFY that on February 16, 2016, l served the foregoing document on the

individuals identified below via email.

       Laura A. Menninger, Esq.
       IIADDON, MORGAN & FOREI'v1A1\, P.C.
                    111
       150 East I 0 A venue
       Denver, Colorado 80203
       Tel: (303 ) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com


                                                  /s/ Sigrid S. Mccawley
                                                      Sigrid S. Mccawley
                     Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 4 of 24
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                                              UNITED STATES DISTRICT COlJRT
                                                                                     for the
                                                             Southern District of New York

                           Virginia L. Giuffre
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                                      V.                                                 )         C iv il Action l\o. 15-CV-07433-RWS
                          Ghislaine Maxwell                                              )
                                                                                         )
                                  Defend11111                                            )

                           SUBPOENA TO PRODUCE DOC UMENTS, INFORIV[A TlON, OR OBJECTS
                             OR TO PERMIT INSPECTION OF PREMISF:S IN A CIVIL ACTION

 To:                 JEAN LUC BRUNEL, c/o Joe Titone, 621 South East 5th Street, Pompano Beach, Florida 33060

                                                              (N alit<' u,( p er,,011 tu 1•-/1( 1//J /h;s subpoena is directed}

       ,6
        Production: YOt; ARE CO.M MANDED to produce at t he time, date, a11d place set forth below the following
doc11mcnls, elec tTOnil.:ally stored informatfon, or objects. and to permit i nspection, copying, resting, or ~ainpling ofi hc
material:
          PLEASE SEE ATTACHED EXHIBIT A


  Place: Boies, Schiller & Flexner LLP                                                              Date and Time:
         575 Lexington Avenue
                                                                                                                            03/01/2016 9:00 am
         New York, NY 10022

     □ Inspection of Premises: YOU ARE COMMANDED lo permit entry on to the designated premises, land, or
other property possessed or contro l led by you at the l ime, date, and location set forth below. so Lhal lhc ,·cquesling party
rnay inspect, measure, survey, photograph, tesr, or sample the property or any des ignated object or operation on it.

  Place:                                                                                         IDBtc and r;.,,c·

        lhe fi.)llowing provisions of Fed . R. C iv. P. 45 <1re attached - Rule 45(c), relat ing to the p lace of compl iance;
Rule 45(d), relating to your protection as n person su bjcc1 10 a subpocmt; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing, so.

Date :        02/16/2016

                                      CT.ERK OF COUJ?T
                                                                                                       OR

                                                  Signoture vf Cl,•rk or Dep111y C/1:rk


The name, address. e-mai l address, and tclcphon<.: number of the ati orney represeming (namr of par{J'J                                          Virginia Giuffre
                                                                                                            , who issues or requests th is subpoena, are:
Sigrid S Mccawley, BSF, LLP, 401 E Las Olas Blvd , #1200, Ft. Lauderdale, FL 33301 (954 )356-00 11 smccawley@bsfllp.com

                                           Notice lo lhe person who issues o r requests this subpoena
lf this subpoena commands t he production of ciocu111c11ts, .: leclron ical ly srored information. or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each pa11y in th is case before
it is served on the person to whom it is directed. Fed_R. Civ. P. 45(:=i)(4).
                    Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 5 of 24
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Civil Action '\Jo. 15-CV-07433-RWS


                                                          PROOF OF SERVICE
                       (This section slzo11ld 110( be filed with the court ,mies.\· required by Fed. R. Civ. P. 45.)

           1 received this subpoena for (name ,?fi11divid11al and tit!.:. ifan.~}
on rdme)


           0 I e;erved the subpoena by delivering a copy to the named person as follows:


                                                                                                 Oil (date,1                                     ; or

           0   1 returned the subpoena uncxccutcd bccau-;c:



           Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
           tendered to the witness the fees for one day's mtendance. and the mi leage allowed by law, in the amount of
           $


My fees are$                                          frlr travel and $                                fr1r services, for a tota1 of$                   0.00



           I declare under penalty ofpe1jury that this information is true.


Date:
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Additional information regarding attempted service, etc .:
                        Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 6 of 24
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         Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 7 of 24


 TO: JEA.~ LUC BRUNEL
                                              EXIHBIT A

                                            DEFINITIONS

        Wherever they hereafter appear lhe following words and phrases have the following

 meanings:

         I.     "Agent" shall mean any agent. employee, officer, director, attorney, independent

contractor or any other person acting, or purporting to act, at the discretion of or on behalf of

another.

        2.      "Con-espondence" or "communication'' shall mean all ·written or verbal

communicalions, by any and all methods_, including without limitation, letters, memoranda,

and/or electronic mail, by which information, in whatever form, is stored, transmitted or

received: and, includes every manner or means of disclosuTe, transfer or exchange, and every

disclosure, transfer or exchange of i11formation whether ornlly or by document or otherwise,

face-to-face, by telephone, telecopies, e-mail, text, modem transmission, computer generated

message, mail, personal delivery or otherwise.

        3.      "Defendant" shall mean the ddendant Ghislaine Maxwell and her employees,

representatives or agenls.

        4.      "Document" shall mean all v.:rit:ten and graphic matter, however produced or

reproduced, and each and every thing from which information can be processed, transcribed,

transmitted, restored, recorded, or memoriali zed in any way, by any means, regardless of

technology or form. Tt includes, without limitation, correspondence, memoranda, notes, notations,

diaries, papers, books, accow1ts, newsJ)aper and magazine articles, advertisements, photographs,

videos, notebooks, ledgers, letters, telegrams, cables, telex messages, facsimiles, contracts, offers,

agreements, reports, objects, tangible things, work papers, transcripts, minutes, rep011.s nnd

recordings of telephone or other conversations or communications, or of interview-s
        Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 8 of 24


 TO: .JEAN LUC BRU~EL
                                             EXHIBIT A

 or conferences, or of other meetings, occurrences or transactions, affidavits, statements,

 summaries, opinions, tests, experiments, analysis. evaluations, journals, balance sheets, income

statements, statistical records, desk calendars, appointment books, l ists, tabulations, sound.

recordings, data prot:essing input or output, microfilms, film negatives, film slides, memory

sticks, checks, statements, receipts, summaries, computer printouts, computer programs, lext

messages, e-mails, information kept in computer hard drives, other computer drives of any kind,

computer tape back-up, CD-ROM. other computer disks of any kind, teletypes, lelecopies,

invoi(.:es, worksheets, printed matter of every kind and description, graphic and oral records and

representations of any kind, and electronic "writings'' and ·'recordings" as set fo11h in the Federal

Rules of Evidence, including but not limited to, originals or copic;s where originals are not

available. i\ny document -with any marks such as initials, comments or notations of any kind of

not deemed to be identical with one without such marks and is produced as a separate document.

Where there is any question about whether a tangible item otherwise described in these requests

falls within the definition of "document" such tangible item shall be produced.

        5.     "Employee·· includes a past or present officer, director, agent or servant, including

any attorney (associate or partner) or paralegal.

       6.      "Including'' means including ·without limitations.

        7.     "Jeffrey Epstein" includes Jeffrey Epstein and any entities owned or controlled by

Jeffrey Epstein, any employee, agent, attorney, consultant, or representative of Jeffrey Epstein.

       8.      c'Ghislaine Maxwell " includes Ghislaine Maxwell and any entities owned or

controlled by Ghislaine Max\.vell, any employee, agt:nt, attorney, consultant, or representative of

Ghislaine Maxwell.
        Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 9 of 24


 TO: ,JEAN LUC BRL'NEL
                                             EXHIBIT A

        9.      ·'Person(s)'' indudes natural persons, prop1ietorc;hips, governmental agencies,

corporations, partnerships, trusts, joint ventures. groups, associations, organi7,ations or any

other legal or business entity.

        10.     "You" or "Your'' hereinafler means Jean Luc Brunel and any employee, agent,

        attorney, consultant, related entities or other representative of Jean Luc Brunel.

                                       INSTR lJCTTONS

        1,      Production of documents and items requested herein shall be made at the

oflict:.s of Boies Schiller & Flexner, LLP, 575 Lexington Avenue, New York, :-Jew York.

        2.     Unless indicated otherwise, the Relevant Period for this Request is from 1996 lo

the present. A Document should be considered to be within the relevant time frame if it rdt:.rn or

relates to communications, meetings or orher events or documents that occurred or were c.:reatec.l

within that time frame, regardless of the date of creation of the responsive Document.

       3.      This Request calls for the production of' all responsive Documents in your

possession, custody or control without regard lo the physical location of such documents.

       4.      lf any Document requested was in your possession or control. but is no longer in

its possession or control, state what disposition was made of said Document, the reason for

such disposition, and the date or such disposi Lion.

       5.      for the purposes or reading, interpreting, or construing the scope of these

req uests, the terms used shall be given their most expansive and incJusive interpretation. This

includes, withom limitation the following:

               a)      Wherever appropriate herein, the singular form of a word shall be
                       interpreted as plural and vice ver.~a.

               b)      "And" as well as "or" shall be construed either disjunctively or
                       conjunctively as necessary to bring withi11 the scope hereof any
         Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 10 of 24


 TO: .TRAN LUC BRUNEL
                                             EXHIBIT A

                        information (as defined herein) which might otherwise be construed to be
                        outside the scope of this disrnvery request.

                c)      "Any'' shall be understood to include and encompass "all" and vice versa.

                d)      Wherever appropriate herein, tl1e masculine form of a word shall be
                        interpreted as feminine and vi<.:e versa.

                e)      "Includi_ng" shall mean "including without Limitation."

         6.     If you are unable to answer or respond fully to any document request, answer or

respond to the extent possible and specify the reasons for your inability to answer or respond in

full. ff the recipient has no documents responsive to a particular Request, the recipient shall so

stale.

         7.     Unless instrncted otherwise, each Request shall be constrned indepcnde11tly and

not by reference to any other Request for the purpose of limitation.

         8.     The words "relate." "relating," ' 1relates," or any other derivative thereof, as used

herein includes concerning, relerring to, responding to, relating to, penaining to, connected

with, comprising, mcrnoriali2ing, evidencing, commenting on, regarding, discussing, showing,

describing, reflecting, analyzing or constituting.

         9.     "Identify" means, with respect to any ''person," or any reference to tbe '' identjty"

of any '·person," to provide the name, home address, telephone number, business name, business

address, business telephone number and a description of each such person's connection \Vith the

events in question.

         l 0.   "ldentify" mcaus. with respe<.:t lo any "document," or any reference to stating the

" identification" of any ''document," provide the title and dale of each such document, the name

and address of the party or parties responsible for the preparation of each such document, the

name and address of the party who requested or required the preparation and on whose be.half it
        Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 11 of 24


TO: JEAN LUC BRUNF.L
                                             RXffiBJT A

was prepared, the name and address of the recipient or recipients to each such document and the

present location of any and all copies of each such document, and the names and addresses of all

persons who have custody or control of each such document or copies thereof.

         11.    In producing Documents, if the original of any Documenl cannot be localed, a

copy shall be produced in lieu thereof, and shall be lcgibk and bound or stapled in the same

manner as the 01iginal.

         12.    Any copy of a Document that is not identical shall be considered a separate

docw11ent.

         13.    If any requested Documenl cannot be produced in full, produce the Document to

the extent possible, specilying i;:ach reason for your inability to produce the remainder of the

Document stating whatever information, knowledge or bel ief ·which you have concerning the

portion not produced.

         14.    If any Document requested was at any one time in existence but arc no longer in

exislence, then so state, specifying for each Document (a) the t)1Je of document; (b) the types of

infr.mnation contained thereon; (c) the date upon which it ceased to exist; (d) the circumstances

under which it ceased to exist; (e) the identity of all person having knowledge of the

circumstances under which it ceased to i;:xisl; and (I) the identity of all persons having

knowledge or who had knowledge of the contents thereof and each individual's address.

        15.    All Documrnl.s shall be produced in the same order as they are kept or maintained

by you in the ordinary course of business.

        16.    You are requesle<l lo produce all drafts and notes, whether typed, handwritten or

otherwise, made or prepared in connection v-:ith the requested Documents, ·whether or not used.

        17.    Documents attached to each other shall not be separated.
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 TO: .JEAN LL'C BRUNEL
                                              EXHIBIT A

         18.     Documents shall be prodL1ced in such fashion as to identify the department, branch

 or office in whose possession Lhey were located and, where applicahle, the natural person in

v11hose possession they were found, and business address of each Document's custodian(s).

         l9.    1f any Documem responsive to the request is withheld, in all or part, based upon

any claim of privilege or prolection, ·whether based on statute or otherwise, stare separately for

each Document, i_n addition to any other information requested: (a) t he specific request ·which

calls for the production; (b) the nature of the privilege claimed; (c) its date; ( d) the name and

address or each author; (e) the name and address of each of the addresses and/or individual lo

,.vhom the Document was distributed, if any: (:f) the title (or position) of its author; (g) type of

rnngible object, e.g., letter, memorandum, telegram, charl, report, recording, disk, etc.; (h) its title

and subject matter (vvithollt revealing the information as to which the privilege is claimed); (i)

-vvith sufficient specificity to permit the Court to make foll determination as to whether the claim

of privilege is valid, each and every fact or basis on which you claim such privilege; and (j)

whether the document contained an attachment and to the extent you are claiming a privilege as

to the attachment, a separate log entry addressing that privilege claim.

        20.     If any Document requested herein is withheld, in all or part, based on a claim lhat

such Document constitutes attorney work product, provide all of the information <lesc:ribed in

Instruction No. 19 and also identify the Iitigation in connection with which Lhe Document and the

information it contains \1-,.as ohtained mid/or prepared.

       21.      Plaintiff does not seek and docs not require the production of multiple copies of

identical Documents.

       22.     This Request is deemed to be continuing. If, after producing these Documents,

you obtain or become aware of any furthe r informatio n, Documents, things, or information
       Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 13 of 24


 TO: JEAN LUC BRUNEL
                                             EXHIBIT A

 responsive to this Request, you are required to so state by supplementing your responses ,md

 producing such additional Documents to Plaintiff.


             DOCUMENTS TO DE PRODUCED PURSUANT TO THIS SUBPOENA

        1.      All video 1apes, audio tapes, photographs, including film negatives or film slides,

CD's, or any other print or electronic media laken that relate to: (I) Alan Dershowitz; (2) Virginia

Roberts; (3) Alan Dcrsbow:itz in Lhe presence of Virginia Roberts; and (4) Alan Dershowitz in the

presence of Jeffrey Epstein am.I and/or any female agent or employee of Jeffrey Epstei n.

        2.      All video tapes, audio tapes, photographs, including film negatives or film slides,

CD's, or any other prinl or electronic media taken 1hat relate to: (I) Ghislai:ne Mmnvell; (2)

Ghislaine Maxwell in the presence of Virginia Robe11s; (3) Ghislaine ~faxwell in the presence of

Jeffrey Epstein and and/or any female agent or employee of Jeffrey Epstein; and (4) Ghislaine

Maxwell in the 11resence of any female tmder the age of eighleen (18) years old.

        3.      All video tapes, audio tapes, photographs, including film negatives or film slides,

CD's, or any other print or ekctronic media taken that relate to: (1) Jeffrey Epstein; (2) .Jeffrey

Epstein in the presence ol'Virginia Roberts; and (3) Jeffrey Epstein in the presence of any female

under the age of eighteen (18) years old.

       4.       All video tapes, audio tapes, photographs, including film negatives, film slides,

CD's, or any other print or electronic media taken that relates to Emmy Taylor, Sarah Kellen, or

Nadia Marcinkova.

       5.       All documents that relate to: (1) Alan DcrshO\•Vitz; (2) Virginia Roberts; (3) Alan

Dershowitz in tl1e presence of Virginia Roberts; and (4) Alan Dershowitz in the presence of

Jeffrey Epstein and/or any female agent or employee of Jeffrey Epstein.
       Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 14 of 24


         6.      All documents relating to models or females thar you employed who

 also worked for or interacted with Jeffrey Epstein or Ghislaine :\1axwe11.

         7.      All documents relating to Jeffrey Epstein from 1996 - present.

         8.     All documents relating to Gh islaine Manvell from 1996- present.

         9.     All documents relating to communications with any of the folio-wing

 indivi<luahi from 1999 - present: Emmy Taylor, Sarah Kellen and Nadia Marcinkova.

         10.    All video tapes, audio tapes, photographs or any olher print or electronic media

 taken at a time when you were vvith Jeffrey Epstein or Ghislaine Maxwell.

         11.    J\11 video tapes, audio tapes, photographs or any olher print or electronic media

taken ar a time when you were at~ or nearby, Jeffrey Epstein or Ghislaine Maxwelrs residences,

hotel moms/suites, automobiles, or aircraft.

        11.    All documents rdaling to your travel from the period of 1996 - 2008, when that

travel ,:vas either with Ghislaine Maxwell or Jeffrey Epstein, or to mee1 Ghislaine Maxwell or

Jeffrey Epstein, including but not limited m comrnei-cial tlighrn, helicopters, passport records,

records indkating passengers traveling with you, hotel records, and credit card receipts.

       12.     All documents relating to payments made from Jeffrey Epstein, Ghislaine

Maxwell, or any related entity to you from 1996 -present.

       13.     All documents i-elating to or describing any work you performed with Jeffrey

Epstein, Ghislaine Maxwell, or any affiliated entity from 1996 -2008.

       14.     All documents relating to any credit cards used that ,;i,,,ere paid for by Jeffrey

Epstein, Ghislaine Maxwell, or any related entity from 1996 - present.

       15 .    Al I telephone records associated with you, including cell phone records, from 1996

- present, that show any communications with either Jeffrey Epstein or Ghislaine Maxwell.
       Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 15 of 24


        16.     All documents relating to calendars, SL:hedules or appointments for you from 1996

- 2008 that relate to visits with, or communications wilh, either Jeffrey Epstein or Ghislaine

:.1axwe 11.

        17.     All documents identifying any individuals to whom Virginia Robe1is prnvided a

massage.

        18.     All documents relating to any employee Jists or records associated with you,

Jeffrey Epstein, Ghislaine :--.1axwell. or any related entity.
     Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 16 of 24




                                  United States District Court
                                 Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

                    PLAINTIFF’S NOTICE OF TAKING VIDEOTAPED
                         DEPOSITION OF JEAN LUC BRUNEL

       PLEASE TAKE NOTICE THAT, pursuant to the subpoena we served counsel, the

undersigned counsel provides this Notice of Taking the Videotaped Deposition of the below-

named individual on the date and hour indicated.

       NAME:                          Jean Luc Brunel

       DATE AND TIME:                 June 7, 2016 at 9:00 a.m.

       LOCATION:                      Boies Schiller & Flexner, LLP
                                      575 Lexington Avenue
                                      New York, NY 10022
       The videotaped deposition will be taken upon oral examination before Magna Legal

Services, or any other notary public authorized by law to take depositions. The oral examination

will continue from day to day until completed.

       The video operator shall be provided by Magna Legal Services. This deposition is being

taken for the purpose of discovery, for use at trial, or for such other purposes as are permitted

under the rules of this Court.
     Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 17 of 24




Dated: May 23, 2016.
                                            BOIES, SCHILLER & FLEXNER LLP

                                        By: /s/ Sigrid McCawley
                                             Sigrid McCawley (Pro Hac Vice)
                                             Meredith Schultz (Pro Hac Vice)
                                             Boies Schiller & Flexner LLP
                                             401 E. Las Olas Blvd., Suite 1200
                                             Ft. Lauderdale, FL 33301
                                             (954) 356-0011

                                             David Boies
                                             Boies Schiller & Flexner LLP
                                             333 Main Street
                                             Armonk, NY 10504

                                             Bradley J. Edwards (Pro Hac Vice)
                                             FARMER, JAFFE, WEISSING,
                                             EDWARDS, FISTOS & LEHRMAN, P.L.
                                             425 North Andrews Avenue, Suite 2
                                             Fort Lauderdale, Florida 33301
                                              (954) 524-2820

                                             Paul G. Cassell (Pro Hac Vice)
                                             S.J. Quinney College of Law
                                             University of Utah
                                             383 University St.
                                             Salt Lake City, UT 84112
                                             (801) 585-52021




1
  This daytime business address is provided for identification and correspondence purposes only
and is not intended to imply institutional endorsement by the University of Utah for this private
representation.
     Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 18 of 24




                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 23rd day of May, 2016, I served the attached document

PLAINTIFF’S NOTICE OF TAKING VIDEOTAPED DEPOSITION OF JEAN LUC BRUNEL via Email to the

following counsel of record.


       Robert Hantman, Esq.
       Hantman & Associates
       1120 Avenue of the Americas, 4th Floor
       New York, NY 10036
       Tel: (212) 684-3933
       Email: rhantman@hantmanlaw.com


       Laura A. Menninger, Esq.
       Jeffrey Pagliuca, Esq.
       HADDON, MORGAN & FOREMAN, P.C.
       150 East 10th Avenue
       Denver, Colorado 80203
       Tel: (303) 831-7364
       Fax: (303) 832-2628
       Email: lmenninger@hmflaw.com
       Email: jpagliuca@hmflaw.com


                                                        /s/ Sigrid S. McCawley
                                                        Sigrid S. McCawley
     Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 19 of 24




                                United States District Court
                               Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                   Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

                 NOTICE OF SERVICE OF RULE 45 SUBPOENA DUCES
                        TECUM UPON JEAN LUC BRUNEL


       PLEASE TAKE NOTICE THAT, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, Plaintiff, Virginia Giuffre, hereby provides Notice of Service of Subpoena upon Jean

Luc Brunel. A copy of the Subpoena is attached to this Notice.

Dated: May 23, 2016
                                        By: /s/ Sigrid McCawley______________
                                             Sigrid McCawley (Pro Hac Vice)
                                             Meredith Schultz (Pro Hac Vice)
                                             Boies, Schiller & Flexner LLP
                                             401 E. Las Olas Blvd., Suite 1200
                                             Ft. Lauderdale, FL 33301
                                             (954) 356-0011

                                             David Boies
                                             Boies, Schiller & Flexner LLP
                                             333 Main Street
                                             Armonk, NY 10504

                                             Bradley J. Edwards (Pro Hac Vice)
                                             FARMER, JAFFE, WEISSING,
                                             EDWARDS, FISTOS & LEHRMAN, P.L.
                                             425 North Andrews Avenue, Suite 2
                                             Fort Lauderdale, Florida 33301
                                             (954) 524-2820
      Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 20 of 24




                                                      Paul G. Cassell (Pro Hac Vice)
                                                      S.J. Quinney College of Law
                                                      University of Utah
                                                      383 University St.
                                                      Salt Lake City, UT 84112
                                                      (801) 585-52021




1
  This daytime business address is provided for identification and correspondence purposes only and is not intended
to imply institutional endorsement by the University of Utah for this private representation.


                                                         2
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  AO 88A (Rev. 02/14) Subpoena to Testily at a Deposition in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                              for the
                                                           Southern District of New York             E]
                          Virginia L. Giuffre
                                                                                )
                                 Plaintiff                                      )
                                  v.                                            )        Civil Action No.    15-cv-07433
                          Ghislain Maxwell                                      )
                                                                                )
                               Defendant                                        )

                               SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                                        Jean Luc Brunel, c/o Robert Hantman, Esq., Hantman & Associates
  To:
                                           1120 Avenue of the Americas, 4th Floor, New York, NY 10036
                                                         (Name ofperson to whom this subpoena is directed)

         ,I Testimony: YOU ARE COMMANDED to appear at tlte time, date, and place set forth below to testify at a
  deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
  or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
  those set forth in an attachment:


  - - - -~Gi-es Schiller & Flexner, LL~~-                - - - - - --               -   --.- - -- - - - --          -   -   -   - - --   --~
   Place: 575 Lexington Ave., 7th Floor                                                   Date and Time:
            New York, NY 10022; 954-365-0011                                               June 7, 2016 at 9:00 a.m .


            The deposition will be recorded by this method: _s_t_e_n_og_ r_a_p_h_y_a_n_d_v_id_e_o_g_ra_ p_h_Y
                                                                                                            _ _ _ _ _ _ __ _ __ _

        0 Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
          material:




        The following provisions offed. R. Civ. P . 45 are attached - Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:
                                    CLERK OF COURT
                                                                                           OR

                                             Signature of Clerk or Deputy Clerk

  The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) _ Virgina Giuff~
  Sigrid S. Mccawley, BSF, LLP                                            , who issues or requests this subpoena, are:
401 E. Las Dias Blvd., Suite 12
Ft. Lauderdale, FL 33301; 954-365-0011; smccawley@bsfllp.com
                                  Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial , a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
                Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 22 of 24


AO SSA (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 15-cv-07433

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received thi s subpoena for (name of individual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

            0 I returned the subpoena unexecuted because:



            Uniess the subpoena was issued on behaif of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of
            $

My fees are$                                      for travel and $                       for services, for a total of$    0.00


            I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server 's signature



                                                                                          Printed name and title




                                                                                            Server's address

Additional information regarding attempted service, etc.:
                 Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 23 of 24



AO 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert's opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert's
   (A) within l 00 miles of where the person resides, is employed, or              study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. tn the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party's officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a S11bpoena.
tangible things at a place within l 00 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
  (t) A1·oiding Undue Burden or Expense; Sanctions. A party or attorney            must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
:o avoid imposing undue burden or expcJ1se on a µe,son subjed to the               If a subpo~11a dot:s not specify a form for producing eiectronicaily stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction-which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney's fees---on a party or attorney who             (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   infonnation in more than one form.
  (2) Commuml to Produce Materials or Permit Inspection.                              (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises-or to
producing electronically stored information in the form or forms requested.        (2) Cluiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
      (i) At any time, on notice to the commanded person, the serving party             (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compel] ing production or inspection.                                        tangible things in a manner that, without revealing information itself
      (ii) These acts may be required only as directed in the order, and the       privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party's officer from        (B) Information Produced. lf information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) fflhen Required. On timely motion, the comt for the district where           information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affoctcd by a              The court for the district where compliance is required-and also, after a
subpoena, the court for the district where compliance is required may, 011         motion is transferred, the issuing court-may hold in contempt a person
motion, quash or modify the subpoena ifit requires:                                who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
       Case 1:15-cv-07433-LAP Document 1320-31 Filed 01/03/24 Page 24 of 24


From:               Brad Edwards
To:                 Laura Menninger; Jeff Pagliuca
Cc:                 Smccawley@BSFLLP.com; cassellp@law.utah.edu; mschultz@BSFLLP.com
Subject:            Depositions next week
Date:               Thursday, June 02, 2016 9:23:30 AM




We got an email yesterday from Mr. Brunel's attorney saying he needs to reschedule. I believe he is trying to get us
new dates today or tomorrow.

We got a similar email from Mr. Fontanella's lawyer yesterday saying that he is also not available next week. His
email said he is available the week of the 27th. I told him I would call him to coordinate a new date once I had
spoken with you.



                                           -
I have not heard from anyone representing Jane Doe 2 yet. I was hoping you could tell me whether she is
represented and whether next week works for her or will also need resetting.

As of right now, the only confirmed depo for next week is that of Mr. Rizzo.

Laura, can you talk later this afternoon to see what we can do about a deposition schedule that makes sense for
everyone going forward? I figure Jeff will be flying.

If we don't connect today then I will try to make time to talk with him after the deposition tomorrow. I understand
that the hearing did not go forward this morning which is unfortunate as it gives us a little guidance where the court
stands on the deposition issues. Maybe you and I can talk and try to figure out some plan that works in the
meantime.

Brad

Sent from my iPhone
